                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

 PAULETTE MYERS JAMES,                              )
                                                    )
          Plaintiff,                                )
                                                    )
 v.                                                 )       Case No.: 3:18-CV-356
                                                    )
 SASE COMPANY, LLC,                                 )       JURY DEMAND
                                                    )
          Defendant.                                )


                DEFENDANT'S DISCLOSURE OF CORPORATE AFFILIATIONS
                             AND FINANCIAL INTEREST


          Pursuant to Federal Rule of Civil Procedure 7.1, Defendant SASE Intermediate Holdings,

 Inc. ("Defendant"), misidentified in the case caption as SASE Company, LLC, makes the

 following disclosure:


      1. Defendant is a corporation organized under the General Corporation Laws of Delaware.


      2. Defendant has no corporate interests to be identified under Federal Rule of Civil

          Procedure 7.1.


                                                    Respectfully submitted,


                                                    s/ Charles K. Grant
                                                    Charles K. Grant, No. 017081
                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ, P.C.
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                                                    Attorney for Defendant

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                                  CERTIFICATE OF SERVICE


          The undersigned hereby certifies that on this 9th day of November, 2018, a copy of the

 foregoing document was served via U.S. Mail on:


          Paulette Myers James
          PO Box 1071
          Sumner, WA 98390
                 and
          6709 47th Street Ct W
          University Place, WA 98466


                                                      s/ Charles K. Grant
                                                      Charles K. Grant




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